

Matter of Dominick B. (Donald M.) (2025 NY Slip Op 02515)





Matter of Dominick B. (Donald M.)


2025 NY Slip Op 02515


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: BANNISTER, J.P., MONTOUR, SMITH, NOWAK, AND HANNAH, JJ.


407 CAF 23-00456

[*1]IN THE MATTER OF DOMINICK B., MICHAEL B., AND MATTHEW B. 
ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; DONALD M., RESPONDENT-APPELLANT. 






CHARLES J. GREENBERG, AMHERST, FOR RESPONDENT-APPELLANT.
JULIE VILJOEN, BUFFALO, FOR PETITIONER-RESPONDENT. 
DAVID C. SCHOPP, THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (RUSSELL E. FOX OF COUNSEL), ATTORNEY FOR THE CHILDREN. 


	Appeal from an order of the Family Court, Erie County (Kelly A. Brinkworth, J.), entered January 30, 2023, in a proceeding pursuant to Family Court Act article 10. The order determined that respondent neglected the subject children. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs for reasons stated in the decision at Family Court.
Entered: April 25, 2025
Ann Dillon Flynn
Clerk of the Court








